                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                  ASHEVILLE DIVISION
                            DOCKET NO. 1:15-cr-00097-MOC-DLH

 UNITED STATES OF AMERICA,                       )
                                                 )
                                                 )
                                                 )
 Vs.                                             )                    ORDER
                                                 )
 KEVIN WAYNE VANOVER                             )
 MEREDITH ANN YATES,                             )
                                                 )
                 Defendants.                     )



       THIS MATTER is before the court on the joint Motion to Suppress. Having considered

the joint motion and reviewed the pleadings, the court enters the following Order.

                                          ORDER

       IT IS, THEREFORE, ORDERED that the Clerk of Court schedule an evidentiary

hearing on the joint Motion to Suppress (#25).




 Signed: March 17, 2016




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